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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF INDIANA
                          HAMMOND DIVISION


UNITED STATES OF AMERICA                )
                                        )
                                        )
     v.                                 )     No. 2:05-CR-143 PS
                                        )
RUDOLFO HEREDIA                         )




                          FINAL VERDICT FORM
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                                       Verdict Form

Count 1

      As to Count 1 of the indictment, we the jury hereby find the defendant, Rudolfo Heredia:

      _____ Guilty          _____ Not Guilty



________________________________                  _________________
Foreperson                                        Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date

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________________________________         _________________
Juror                                    Date


________________________________         _________________
Juror                                    Date


________________________________         _________________
Juror                                    Date




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Count 2

      As to Count 2 of the indictment, we the jury hereby find the defendant, Rudolfo Heredia:

      _____ Guilty          _____ Not Guilty



________________________________                  _________________
Foreperson                                        Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


________________________________                  _________________
Juror                                             Date


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Juror                                             Date


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Juror                                             Date


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Juror                                             Date


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Juror                                             Date




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________________________________         _________________
Juror                                    Date


________________________________         _________________
Juror                                    Date


________________________________         _________________
Juror                                    Date




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